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Counsel for Defendant
BERKSHIRE HATHAWAY HOMESTATE
INSURANCE COMPANY, formerly
and/or d/b/a CORNHUSKER
CASUALTY COMPANY


                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA


AARON BAILEY,              )
                           )
          Plaintiff,       )
                           )     Case No. 3:12-cv-00139 TMB
     vs.                   )
                           )
BERKSHIRE HATHAWAY         )
HOMESTATE INSURANCE        )
COMPANY formerly and/or    )
d/b/a CORNHUSKER CASUALTY )
COMPANY,                   )
                           )
          Defendant.       )
___________________________)



             STIPULATION FOR DISMISSAL WITH PREJUDICE

     COME NOW the parties, by and through their attorneys of

record, and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules

of Civil Procedure, stipulate that the above-captioned cause of

action be dismissed with prejudice, each party to bear their own

costs and attorney's fees.




      Case 3:12-cv-00139-TMB Document 25 Filed 04/09/14 Page 1 of 2
                             LAW OFFICE OF FRANK S. KOZIOL
                             Attorney for Defendant
                             BERKSHIRE HATHAWAY HOMESTATE
                             INSURANCE COMPANY, formerly
                             and/or d/b/a CORNHUSKER
                             CASUALTY COMPANY


Date: 4/9/14           By:   /s/ Frank S. Koziol
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                             ABA No. 7210054
                             (By Consent)


                             LAW OFFICE OF CHARLES W. COE
                             Attorney for Plaintiff


Dated: 4/9/14          By:   /s/ Charles W. Coe
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                             ABA No. 7804002
                             (By Consent)

THIS IS TO CERTIFY that a copy
of the foregoing was served
electronically upon Charles
W. Coe on this 9th day of
April, 2014.


/s/ Frank S. Koziol




Stipulation For Dismissal With Prejudice
Aaron Bailey v. Berkshire Hathaway Homestate Insurance Company et al.
Case No. 3:12-cv-00139 TMB
Page 2 of 2




      Case 3:12-cv-00139-TMB Document 25 Filed 04/09/14 Page 2 of 2
